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                                   UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

              Plaintiff,

     v.                                                        Case No. 93-cr-40050-JPG

DAVID REED,

              Defendant.

                                       MEMORANDUM AND ORDER

          This matter comes before the Court on defendant David Reed’s motion for leave to proceed in forma

 pauperis in his appeal of the March 31, 1994, judgment and conviction in this case (Doc. 163).

          A federal court may permit a party to proceed on appeal without full pre-payment of fees provided

 the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(1) & (3); Fed. R. App. P.

 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d 1025, 1026-27 (7th Cir.

 2000). The test for determining if an appeal is in good faith or not frivolous is whether any of the legal

 points are reasonably arguable on their merits. Neitzke v. Williams, 490 U.S. 319, 325 (1989) (citing Anders

 v. California, 386 U.S. 738 (1967)); Walker v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

          Reed has already filed a direct appeal of his criminal case (Doc. 126), and the Court of Appeals has

 affirmed the Court’s judgment (Doc. 137). The deadline for filing a notice of appeal of his original

 judgment has long passed, see Fed. R. App. P. 4(b)(1)(A), and a new appeal nearly six years after entry of

 judgment would be frivolous because it is clearly untimely. No reasonable person could argue that the

 pending appeal has merit. Therefore, the Court CERTIFIES that this appeal is not taken in good faith and

 accordingly DENIES the motion for leave to proceed on appeal in forma pauperis (Doc. 163).

 IT IS SO ORDERED.
 DATED: February 5, 2010
                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
